

People v Jacobs (2024 NY Slip Op 51394(U))



[*1]


People v Jacobs (Cleveland)


2024 NY Slip Op 51394(U)


Decided on October 10, 2024


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on October 10, 2024
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Tisch, J.P., James, Perez, JJ.



570069/22

The People of the State of New York, Respondent, 
againstCleveland Jacobs, Defendant-Appellant.




Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Eric Schumacher, J.), rendered February 23, 2021, convicting him, upon a plea of guilty, of criminal possession of a controlled substance in the seventh degree, and imposing sentence.




Per Curiam.
Judgment of conviction (Eric Schumacher, J.), rendered February 23, 2021, affirmed.
Since defendant waived prosecution by information, the accusatory instrument is assessed under the reasonable cause standard applicable to a misdemeanor complaint (see People v Dumay, 23 NY3d 518, 522 [2014]). So viewed, the accusatory instrument was jurisdictionally valid because it described facts of an evidentiary nature establishing reasonable cause to believe that defendant was guilty of possessing Oxycodone, a controlled substance (see Penal Law § 220.03). The instrument recited that police "recovered [five] Oxycodone pills from the defendant's jacket pocket and $972, in various denominations, from defendant's pants pocket" and that the officer "believe[d] the pills [were] Oxycodone based on [his] training and experience, the shape of the pills, and the marking on them" (see People v Smalls, 26 NY3d 1064 [2015]; People v Kalin, 12 NY3d 225, 231-232 [2009]; People v Pearson, 78 AD3d 445 [2010], lv denied 16 NY3d 799 [2011]). At the pleading stage, these allegations supplied defendant "with sufficient notice of the charged crime to satisfy the demands of due process and double jeopardy" (People v Dreyden, 15 NY3d 100, 103 [2010]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: October 10, 2024









